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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MONTANA
                                  MISSOULA DIVISION




 UNITED STATES OF AMERICA,                     CR-19-14-M-DLC


                     Plaintiff,
                                                 ORDER
 vs.




 DANIEL BRIAN BURKE,

                     Defendant.




       IT IS HEREBY ORDERED that the exhibits marked and admitted in the

above entitled case are to be retrieved from the Clerk of Court's Office by counsel

of record. Counsel are directed to retain custody of the exhibits until the case has

been completely terminated, including appeal.

       IT IS FURTHER ORDERED that counsel is responsible for retrieving said
exhibits within the next 5 days. A receipt of the exhibits shall be signed and filed

as part of the record.
                                           /
       DATED this 5th day of Novembery2020.

                                                             mm
                                        Honorable Dana L. Christensen
                                        United States District Judge
